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                              United States District Court
                                    EASTERN DISTRICT OF TEXAS
                                        SHERMAN DIVISION

   JOSHUA FLOWERS                                    §
                                                     §   Civil Action No. 4:19-CV-893
   v.                                                §   (Judge Mazzant/Judge Nowak)
                                                     §
   VIRGINIA SIMPSON                                  §

                   MEMORANDUM ADOPTING REPORT AND
            RECOMMENDATION OF UNITED STATES MAGISTRATE JUDGE

         Came on for consideration the report of the United States Magistrate Judge in this action,

  this matter having been heretofore referred to the Magistrate Judge pursuant to 28 U.S.C. § 636.

  On April 9, 2020, the report of the Magistrate Judge (Dkt. #11) was entered containing proposed

  findings of fact and recommendations that Plaintiff’s case be dismissed without prejudice for want

  of prosecution and failure to obey an order pursuant to Federal Rule of Civil Procedure 41(b).

         Having received the report of the United States Magistrate Judge, and no objections thereto

  having been timely filed, the Court is of the opinion that the findings and conclusions of the

  Magistrate Judge are correct and adopts the Magistrate Judge’s report as the findings and

  conclusions of the Court.

         It is therefore ORDERED that the above-styled action is DISMISSED WITHOUT

  PREJUDICE for want of prosecution and failure to obey an order pursuant to Federal Rule of

. Civil Procedure 41(b).

         Any relief not granted herein is DENIED.

         The Clerk of the Court is directed to close this case.

         IT IS SO ORDERED.
          SIGNED this 6th day of May, 2020.




                                        ___________________________________
                                        AMOS L. MAZZANT
                                        UNITED STATES DISTRICT JUDGE
